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           IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF OHIO
                        EASTERN DIVISION


               SENIOR JUDGE DONALD C. NUGENT

                      Case Number: 1:20cv-0367



            DR. LORA FREIER-HECKLER,
                                Plaintiff

                                  -vs-

              DENIS McDONOUGH, et al.,
                             Defendants

  PLAINTIFF’S POST-ARGUMENT MEMORANDUM IN
    OPPOSITION TO DEFENDANTS’ MOTION FOR
               SUMMARY JUDGMENT


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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

DR. LORA FREIER-HECKLER,                        ) Case Number 1:20cv-0367

                                  Plaintiff, ) JUDGE DONALD C. NUGENT

                  -vs-                          ) PLAINTIFF’S POST-ARGUMENT
                                                  MEMORANDUM IN
                                                ) OPPOSITION TO
                                                  DEFENDANTS’ MOTION
DENIS McDONOUGH, et al.,                        ) FOR SUMMARY JUDGMENT

                               Defendants, )

                                  INTRODUCTION
   After February 1st oral arguments for and against summary judgment, the Court

invited post-hearing briefs on issues which arose during the proceeding.

   Two issues raised by the court and the VA for the first time are (1) is whether this

case simply involves a difference in management styles and (2) whether the smaller

acts of employment discrimination based on sex and the retaliation actions which

followed are cognizable under Title VII.

   I.         ARGUMENT

   Section 703(a)(1) of Title VII of the Civil Rights Act of 1964 provides, in relevant

part, that:

               [i]t shall be an unlawful employment practice for an
               employer * * * to fail or refuse to hire or to discharge any
               individual, or otherwise to discriminate against any
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              individual with respect to h[er] compensation, terms, conditions,
              or privileges of employment, because of such [sex.]

42 U.S.C. 2000e-2(a)(1) [Emphasis added] This case presents the question of whether

the Plaintiff, Dr. Lora Freier-Heckler, for purposes of a summary judgment motion

only, has presented sufficient evidence on the basis of sex and retaliation which

constitute actionable claims under Title VII “with respect to “terms, conditions, or

privileges of employment” under Section 703(a)(1). 42 U.S.C. 2000e-2(a)(1).

       If the perpetrator of the discrimination or retaliation is a manager, as opposed

to a co-worker, the employer is liable as a consequence of the manager’s actions.

Vance v. Ball State Univ., 570 U.S. 421, 424 (2013).

   A. Title VII Makes No Distinction Between Overt, Intentional Sex
      Discrimination and Difference in Treatment Based on Sex for Actions
      which are Less Severe and Quantifiable

   Under Section 703(a)(1) of Title VII of the Civil Rights Act of 1964, 42 U.S.C.

2000e-2(a)(1), no showing of a “material” harm or adversity is required.

   Section 703(a)(1) is not limited to material adverse employment decisions or other

employment actions. While retaliation claims under Section 704(a), 42 U.S.C. 2000e-

3(a), may be based on actions “that a reasonable employee would have found * * *

materially adverse,” Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006),

there is no such materiality requirement for discrimination claims under Section

703(a)(1) of Title VII.




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   Moreover, with roughly 200 in-person meetings with VA executives and emails

from the Plaintiff about what Rutledge was doing, the VA’s inactions trigger liability

because of its “manifest indifference or unreasonableness in light of the facts the

employer knew or should have known.” Hawkins v. Anheuser-Busch, Inc., 517 F.3d 321,

338 (6th Cir. 2008); Waldo v. Consumers Energy Co., 726 F.3d 802, 814 (6th Cir. 2013);

Jackson v. Quanex Corp., 191 F.3d 647, 659 (6th Cir. 1999). Moreover, the VA took

neither prompt nor meaningful action to stop Rutledge from his discriminatory or

retaliatory actions. Stevens v. U.S. Postal Serv., 21 Fed. App’x 261, 264 (6th Cir. 2001); see

Zeller v. Canadian Nat’l Ry. Co., 666 Fed. App’x 517, 526 (6th Cir. 2009)

       1. Anti-Discrimination Protections Under Section 703(a)(1)

   Does Title VII distinguish between an employer’s double demotion stripping an

employee of a position or if the boss locks you out of the informational calendar

where information awareness is part of the job?

   Title VII makes no such distinction. Rather, Section 703(a)(1) broadly prohibits

any discrimination with respect to “compensation, terms, conditions, or privileges of

employment” based on sex. 42 U.S.C. 2000e-2(a)(1). For example, does being shot in

the butt fired by the boss’s rubber band which diminishes your status, or being cut off

from informational calendar computer access so you can’t do your job or being

isolated behind a locked door so subordinates have less access to you rise to the level

of the “terms, conditions or privileges of employment” under Title VII?



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   A discriminatory differentiation such as denying informational access to a female

manager but not male subordinates or trying to remove a female’s organizationally-

charted position without doing likewise to any male is actionable under Title VII even

when there is “no reduction in pay and no more than a minor change in working

conditions.”

   While Dr. Freier-Heckler denies that these kind of employment actions are not

minor,   the statute specifically    identifies what the “meat” in a Title VII sex

discrimination case is, that is, how broadly “terms, conditions, or privileges” are to be

considered under Section703 (a)(1) of Title VII. The Supreme Court in Burlington N.

& Santa Fe Ry. Co. v. White, 548 U.S. 53, 68 (2006) reaffirmed that there is no

materiality requirement for discrimination claims under Section 703(a)(1) of Title VII..

Instead, Section 703(a)(1) prohibits all discrimination with respect to “compensation,

terms, conditions, or privileges of employment.” 42 U.S.C. 2000e-2(a)(1). Denying

access to the informational computer calendar, isolating an underling from her

subordinates or intentionally attempting to remove a position from the VA’s

organizational structure impacts on a term, condition or privilege of employment.

   Nothing in Section 703(a)(1) requires extreme adverse employment actions like,

for example, a “reduction in pay” or “more than a minor change in working

conditions.” If conditions at work worsen, that’s a “personnel action” under 42

U.S.C. 2000e-16(a) under the ordinary meaning of the term. See Taniguchi v. Kan Pac.



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Saipan, Ltd., 566 U.S. 560, 566 (2012) (“When a term goes undefined in a statute, we

give the term its ordinary meaning.”).

   42 U.S.C. 2000e-16(a) in the public section equivalent of the private sector Section

703(a)(1). And nothing about the context of Title VII’s federal-sector provision

suggests a departure from its ordinary meaning. To the contrary, worsening

conditions based on sex or other protected characteristics directly undermines “the

important purpose of Title VII - that the workplace be an environment free of

discrimination.” Ricci v. DeStefano, 557 U.S. 557, 580 (2009).

   It is noteworthy that public-sector employment discrimination protections under

Title VII are even broader than private sector protections. Title VII’s federal-sector

provision is a substantive workplace anti-discrimination provision. 42 U.S.C. 2000e-

16(a).

   Unlike its private-sector counterpart, the federal-sector anti-discrimination

provision “contains a broad prohibition of ‘discrimination,’ rather than a list of

specific prohibited practices.” Gomez-Perez v. Potter, 553 U.S. 474, 487 (2008).

Specifically, the federal-sector anti-discrimination provision states that “[a]ll personnel

actions” affecting employees    ...   “shall be made free from any discrimination based

on” the same protected characteristics listed in the private-sector provision. 42 U.S.C.

2000e-16(a). [Emphasis added]

   The phrase “terms, conditions, or privileges of employment,” 42 U.S.C. 2000e-

2(a)(1), plainly includes the working conditions Dr. Freier-Heckler challenges here -
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the public humiliation by a boss, the exclusion of information in order to perform a

job, the isolation from subordinates who are supposed to report to her and the nature

of her job assignment.. See Webster’s New International Dictionary of the English

Language 556 (2d ed. 1958) (defining “conditions” to include “[a]ttendant

circumstances * * * as [in], living conditions; playing conditions”); see also, e.g.,

Random House Dictionary of the English Language 306 (1966) (defining

“conditions” to include “situation with respect to circumstances”).

   That reading accords with common sense. A typical employee asked to describe

her “terms” or “conditions * * * of employment,” 42 U.S.C. 2000e-2(a)(1), would

almost surely mention where she works and what she does. See EEOC Compliance

Manual § 15-VII(B)(1) (2006) (“Work assignments are part-and-parcel of employees’

everyday terms and conditions of employment.”).

   If “the meat,” respectfully, limits the meaning of “terms, conditions, or privileges

of employment,” 42 U.S.C. 2000e-2(a)(1) , to overt, material adverse employment

decisions, like a demotion, it would be an interpretation flying in the face of Title

VII’s text, Congress’s purpose and Supreme Court precedent.

   Our circuit and others have expressly rejected the reading and application of Title

VII only to “significant and material” employment actions, Welsh v. Fort Bend Indep.

Sch. Dist., 941 F.3d 818, 824 (5th Cir. 2019) (citation omitted). That restrictive reading

would be atextual to Title VII. See Ortiz-Diaz v. United States Dep’t of Hous. & Urban

Dev., 867 F.3d 70, 81 (D.C. Cir. 2017) (Kavanaugh, J., concurring).
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   In our circuit’s recent analysis of the breadth of Title VII, Chief Judge Sutton

clarified any question about its latitude. In Threat v. City of Cleveland, the district court

granted summary judgment because it concluded that a mere directive ordering a shift

change did not rise to the level of Title VII. Reversing, our circuit wrote unanimously

that protections under Title VII are not limited to material terms, conditions or

privileges. Based on the text of Title VII alone, to the three judges, the need to reverse

was obvious:

               The main debate in this case turns on the meaning of
               ‘compensation, terms, conditions, or privileges of
               employment.’ 42 U.S.C. § 2000e-2(a)(1). Do the city’s shift
               schedules amount to ‘terms’ of employment? Does getting
               priority because of seniority in choosing shifts amount to a
               “privilege” of employment? At one level, that seems easy.
               If the words of Title VII are our compass, it is
               straightforward to say that a shift schedule—whether, for
               example, the employee works the night shift or the day
               shift—counts as a term of employment. It’s not even clear
               that we need dictionaries to confirm what fluent speakers
               of English know.


Threat v. City of Cleveland, 6 F. 4th 672, 677 (6th Cir. 2021)

       So does the thrust in a Title VII claim compel a victim of discrimination to

prove that a term, condition or privilege be material? The unanimous decision in

Threat worked hard to say no:

               That leads to the [defendant] city’s second line of attack. It
               points out that we have several decisions, many of them
               unpublished, that have said that shift changes do not count
               as materially adverse employment actions under Title VII.
               See Regan v. Faurecia Auto. Seating, Inc., 679 F.3d 475, 482
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             (6th Cir. 2012); Tepper v. Potter, 505 F.3d 508, 516–17 (6th
             Cir. 2007); Policastro v. Nw. Airlines, Inc., 297 F.3d 535, 539
             (6th Cir. 2002); Harper v. Elder, 803 F. App’x 853, 857 (6th
             Cir. 2020); Wade v. Automation Pers. Servs., Inc., 612 F. App’x
             291, 300 (6th Cir. 2015); Amann v. Potter, 105 F. App’x 802,
             808 (6th Cir. 2004); Monak v. Ford Motor Co., 95 F. App’x
             758, 765 (6th Cir. 2004); Virostek v. Liberty Twp. Police
             Dep’t/Trs., 14 F. App’x 493, 504 (6th Cir. 2001); Miller v.
             Peck-Hannaford & Briggs Co., 142 F.3d 435 (6th Cir. 1998)
             (unpublished table decision); Kocsis v. Multi-Care Mgmt., Inc.,
             97 F.3d 876, 885 (6th Cir. 1996).

             Invoking these cases and related reassignment cases, the
             city makes a categorical argument—that [s]hift changes do
             not constitute adverse employment actions.” Appellee Br.
             at 26.

             But we have no such categorical rule. None of these cases
             creates an across-the-board directive that actionable
             discrimination claims never cover shift changes, whether in
             connection with seniority prerogatives or not. That is not
             what they say. Even Kocsis, one of the more frequently cited
             and far-reaching decisions in this line of cases, emphasizes
             the contextual nature of these inquiries. 97 F.3d at 886. It
             noted that ‘indices that might be unique to a particular
             situation” could show that the adverse action was “more
             disruptive than a mere inconvenience or a mere ‘alteration
             of job responsibilities’ Id. (quotation omitted).

Threat, at 579.

      2. Contextual Nature of Inquiry

      If the circuit tells us anything from Kocsis v. Multi-Care Management, Inc, 97 F. 3d

876, 886, 6th Cir. 2009) to its Threat decision six months ago, events need to be

considered in context. If Rutledge disrespected Dr. Freier-Heckler so deeply that he

refuses to refer to her as “doctor” unlike his reference to male doctors, or bars her

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from speaking at staff meetings or refuses an order from top VA management to

apologize, standing alone none of those acts violate Title VII.

        But the context of what Rutledge does demonstrates the intentional nature of

barring access to her subordinates, removing her from access to calendar

informational data basic to her job functionality, generating a phony organizational

chart to get rid of her and organizing crooked transportation workers to concoct an

AIB because of her undisputedly uncovering scores of anomalies.

        None of these events occurred in a vacuum. It is all context.

        3. Anti-Retaliation Protections Under Section 703-3(a)

   Likewise, under the anti-retaliation provision of Title VII, Section 703-3(a), an

employer may not “discriminate” against an individual “because he has opposed any

practice made an unlawful employment practice by [Title VII], or because he has

made a charge, testified, assisted, or participated in any manner in an investigation,

proceeding, or hearing under [Title VII].” 42 U.S.C. 2000e-3(a); Burlington N. & Santa

Fe Ry. Co. v. White, 548 U.S. 53, 61 (2006).

        4. The Legal Standard in Determining Whether VA’s Use of the 2018
           Retaliatory Proposed Double Demotion Is Pretextual or Legitimate

   The 2018 proposed double demotion, for example, was merely one of the last in a

series of unending discriminatory and retaliatory acts by the VAs Logistics Chief since

2015.




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   With respect to the 2018 action, no factual dispute exists that the VA chose Dr.

Freier-Heckler over anyone else to do a first audit as primary investigator in the audit

of William Precht working under Logistics Chief Rutledge which uncovered actions

rife with wrongdoing (2015).

   No factual dispute exists that the VA chose Dr. Freier-Heckler over anyone else to

do a third audit as primary investigator in the audit of the Sandusky Veterans Nursing

Home which uncovered actions rife with wrongdoing (2020). Same techniques as the

first and second audit.

   No factual dispute exists that the VA chose Dr. Freier-Heckler over anyone else,

having been returned to work under Chief Rutledge, to do a second audit as primary

investigator of the Transportation Department working under Logistics Chief

Rutledge which uncovered actions rife with wrongdoing (2017). Same techniques as

the first audit. That generated the first AIB in which the VA had Dr. Freier-Heckler as

its chief witness, “protected” in order to prove the pervasive misconduct in

transportation.

   Big difference between Audit #1 and Audit #3. In Audit #2, it was Dr. Freier-

Heckler’s boss encouraging malfunctioning transportation workers to file complaints

against her.

   “Protected” by VA? Hardly. No dispute exists that Rutledge openly admitted in

deposition he encouraged organized Transportation workers to complain about Dr.

Freier-Heckler.
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   A 2nd AIB, put together by VA executives, concluded she should be counselled.

   She was never counselled. Instead, the VA proposed a double demotion. Then

VA realized the overt retaliatory look of a double demotion and, sua sponte, changed its

mind and made it a single demotion.

   To make the VA’s actions even more disingenuous, five (5) days after she was

demoted, the VA came back to her again and engaged her - - - this time for a third

time - - - to undertake the third audit. Same techniques as the first and second audit

(2020).

   The second audit was no different than the first. The third was no different than

the second. Even after demoting her, VA called her back to use the same techniques

in a third audit five (5) days after her demotion. The proposed double demotion,

modified as extreme, was changed to a single demotion, was nothing more than

retaliation, changed to make it look less retaliatory.

   Did the VA abide by the AIB recommendation to limit rectifying her actions to

counselling?    It ignored it, offered no counseling, rather proposing a double

demotion.

   Then, after the demotion, VA hired her again to do a third audit, to do the same

thing.

   Especially in light of hundreds of complaints about Rutledge’s unstoppable

discrimination and retaliation, VA’s contextual motives behind the demotion arising

out of the second audit clearly generate a genuine issue of material fact.
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   Poor performance is, of course, a legitimate, non-discriminatory reason for an

adverse employment decision. See Stransberry v. Air Wis. Airlines Corp., 651 F.3d 482,

488 (6th Cir. 2011). But this case presents a 30-year-employee with nothing but

outstanding annual evaluations whom VA promised to “protect” as a witness in an

earlier AIB to uncover Transportation Department misconduct.

   Was the demotion, never proposed by the VA in her first audit (or her third)

legitimate or pretextual?

   If the AIB found that counseling would have rectified the allegations, why did the

VA ignore it and propose an extreme double demotion instead?

   Why didn’t the VA simply do what the AIB recommended and get her counselling

which it never did?

   And, despite all of this, why would the VA again hire her to do a third audit five

(5) days after her demotion?

   These are obviously fact questions meaningless without context. The questions

present genuine issues of material fact. They are jury questions. And the evidence of

both the substance and the timing of the punishment would shed light on whether the

employer’s proffered reason for the adverse employment action was its actual

motivation.

   Pretext is indirectly proven “by showing that the employer’s stated reason for the

adverse employment action . . . is insufficient to explain the employer’s action.” White

v. Baxter Healthcare Corp., 533 F.3d 381, 393 (6th Cir. 2008). Pretext can be proven by
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“evidence which challenges the reasonableness of the employer’s decision ‘to the

extent that such an inquiry sheds light on whether the employer’s proffered reason for

the employment action was its actual motivation.’ Id., quoting Wexler v. White’s Fine

Furniture, Inc., 317 F.3d 564, 578 (6th Cir. 2003) (en banc)

II.     CONCLUSION

        Nothing in the record shows that this case has anything to do with differing

management approaches. The Fifth Circuit, for example, has suggested in some

decisions that, “in certain cases, ‘a change in or loss of job responsibilities … may be

so significant and material that it rises to the level of an adverse employment action.’”

Welsh v. Fort Bend Indep. Sch. Dist., 941 F.3d 818, 824 (5th Cir. 2019) Imagine being cut

off as Assistant Chief from the calendar which identifies deadlines, reports and

meetings in January, 2017 immediately after a report to VA executives that Chief

Rutledge discriminates against the female employees in Logistics.

        The Supreme Court has held that Section 703(a)(1) “not only covers ‘terms’

and ‘conditions’ in the narrow contractual sense, but ‘evinces a congressional intent to

strike at the entire spectrum of disparate treatment of men and women in

employment.” Oncale v. Sundowner Offshore Servs., Inc., 523 U.S. 75, 78 (1998) (quoting

Meritor, 477 U.S. at 64); see, e.g., Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993)

[Emphasis added]. The fact that a job description includes a particular duty thus does

not license an employer to discriminate among employees in their performance of that

duty.
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      Ignoring all the events of 2015, 2016 and 2017, the VA argues only one act, a

demotion, is the only act covered by Title VII.

      But, it argues, even that doesn’t count because enforcing Title VII would

convert it to a “general civility code.” Problem with the argument is that it flies in the

face of existing law. For a variety of reasons, our circuit decision in Threat confirms

the error of VA’s thinking:

             The city worries that this approach will turn the anti-
             discrimination provision into a ‘general civility code’ that
             federal courts will use to police the pettiest forms of
             workplace misconduct. Oncale v. Sundowner Offshore Servs.,
             Inc., 523 U.S. 75, 80 (1998). But that is the point of the de
             minimis exception. Plus, the provision ‘protects an
             individual only from employment-related discrimination’
             based on a protected characteristic, not just any distinction
             in terms of employment. Burlington N. & Santa Fe Ry. Co. v.
             White, 548 U.S. 53, 61 (2006). Also misplaced is the city’s
             view that § 703(a)(1) reaches only employment decisions
             that cause the employee economic harm. Cabining the
             provision to pocketbook harms would render meaningless
             many of the words in the statutory phrase ‘compensation,
             terms, conditions, or privileges of employment.’ As the
             words after ‘compensation’ suggest, Title VII indeed
             extends beyond ‘economic discrimination.’ Meritor Sav.
             Bank v. Vinson, 477 U.S. 57, 64 (1986).

Threat, at 680.

      Congress and the Supreme Court have told us the opposite. Both the anti-

discrimination and anti-retaliation provisions of Title VII do not limit Mr. Rutledge’s

inappropriate actions because roughly three dozen biased acts of varied nature

affected the terms, conditions and privileges of Dr. Freier-Heckler’s service as VA’s

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Assistant Logistics Chief.. See Burlington N. & Santa Fe Ry. Co. v. White, 548 U.S. 53,

64, 126 S. Ct. 2405, 2412, 165 L. Ed. 2d 345 (2006). Dr. Freier-Heckler presents

evidence of a blatantly hostile work environment. No singular pocketbook harm here.

       If VA’s Deputy Director Pacyna would have stopped the unchallengeably overt

acts of discrimination and retaliation in 2015, 2016 and 2017, the VA wouldn’t have

had to cook up assigning Dr. Freier-Heckler as the chief auditor and protected

witness concerning its wildly incompetent Transportation Department under

Rutledge, only to set her up for a demotion.

       She found the improprieties. Then VA turned around to punish her in a

manner far exceeding even what the AIB recommended. She used the same

techniques in uncovering a nine-million-dollar rip-off by William Precht. But the VA

was fed up with her sex discrimination complaints about its Logistics chief.

       In 2018, she was directed to audit the Transportation Department as a

protected witness. VA used her audit investigative approach, the same used in the

audits before and after Transportation with success. The VA ignored the

Transportation AIB recommendation of coaching and proposed a double demotion

instead.

       The VA has ignored four years of dozens of literally unchallenged acts of sex

discrimination. It sees one in 2018. The disregard of dozens of discriminatory acts

constitute a gross and perverse pattern of workplace bias suffered by Dr Freier-

Heckler. Int’l Bhd. of Teamsters v. United States, 431 U.S. 3 24, 337–338 (1977).
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       The guidance in Threat helps here.

       Regularly mispronouncing her name?            Rude, contextually important, but

statutorily de minimus. Not calling her “doctor?” Rude, contextually important, but

statutorily de minimus.

       But Rutledge’s unashamed assault with a rubber band to her posterior in front

of co-workers? Attempting to remove her off the organizational chart? Cutting her off

from critical information, the centerpiece of her job? Isolating her from reporting

subordinates behind a locked door? Shutting her up at meetings? Affirmatively

organizing lower-level malefactors in transportation with an effort to generate

punishment? VA ignoring every one of these events and more including ignoring the

2nd AIB proposed relief, counselling, and instead proposing an extreme double

demotion?

              Congress enacted Title VII, the National Legislature
              provided no indication that it sought to disregard these
              considerations or to use the word ‘discriminate’ to cover
              any difference in personnel matters. Yes, ‘hundreds if not
              thousands of decisions say that an ‘adverse employment
              action’ is essential to the plaintiff’s ‘prima facie case’ even
              though ‘that term does not appear in any employment-
              discrimination statute.’ Minor v. Centocor, Inc., 457 F. 3d 632,
              634 (7th Cir. 2006). And, yes, the same could be said about a
              ‘materiality’ requirement. But we take these innovations to
              be shorthand for the operative words in the statute and
              otherwise to incorporate a de minimus exception to Title
              VII.

Threat, at 678-679 [Emphasis by the court] .With seven depositions filed by Dr. Freier-

Heckler confirming these events, coupled with her 121-paragraph sworn statement
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with exhibits corroborating her allegations, the record is heavily laden with evidence

of discrimination and retaliation, easily satisfying the prima facie case she only needs

to overcome a motion for summary judgment. Dr. Freier-Heckler has presented a

tidal wave of contrary facts where genuine issues of material fact scream from the

record. Dr. Freier-Heckler urges that Defendants’ motion be denied.



                                                 Respectfully submitted,


                                                     s/Avery Friedman
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                          CERTIFICATE OF COMPLIANCE

I, Avery Friedman, attorney for the Plaintiff, pursuant to Local Rule 7.1(f), hereby

certify that this case is assigned to the Standard Track and adheres to the page

limitation set forth in the local rules.

                                                 s/Avery Friedman
                                                Avery Friedman


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                           CERTIFICATE OF SERVICE

I, Avery Friedman, attorney for the Plaintiff, hereby certify that PLAINTIFF’S

POST-ARGUMENT MEMORANDUM IN OPPOSITION TO DEFENDANTS’

MOTION FOR SUMMARY JUDGMENT was served on opposing counsel by the

court’s electronic filing system on this 10th day of February, 2022.

                                                 s/Avery Friedman
                                                Avery Friedman




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